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                                                         Court Exhibit 1

                                                Jury Instructions – Public
                                                  Draft 1 December 8, 2017

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------x
                                    :
 UNITED STATES OF AMERICA,          :
                                    :
           -against-                :
                                    :           15-CR-637 (KAM)
 EVAN GREEBEL,                      :
                                    :
                Defendant.          :
                                    :
 -----------------------------------x




                             JURY INSTRUCTIONS
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                                INTRODUCTION

            You are about to enter your final duty, which is to

 decide the factual issues in the case.         I ask that you please

 pay close attention to me now.       I will go as slowly as I can and

 be as clear as possible.

            I told you at the very start of the trial that your

 principal function during the trial would be to listen carefully

 and observe each witness who testified.         It has been obvious to

 me and to counsel that you have faithfully discharged this duty,

 and I thank you for your attentiveness and service.           Now that

 you have heard all of the evidence in this case and the

 arguments of each side, it is my duty to give you instructions

 as to the applicable law.       My instructions will be in three

 parts:

            First:    I will state some general rules about your

 role and the way in which you are to review the evidence in this

 case;

            Second:    I will instruct you as to the two crimes

 charged in this case and the elements that the government must

 prove with respect to each; and

            Third:    I will give you some general rules regarding

 your deliberations.

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            Do not single out any one instruction I give you as

 alone stating the law.       Rather, you should consider these

 instructions as a whole when you retire to the jury room to

 deliberate on your verdict.

           Authority: See Sand, et al. Modern Federal Jury
 Instructions (“Sand”), Instruction 2-1 (Juror Attentiveness).

                         I.   GENERAL RULES OF LAW

 1.     Role of the Court

            You have now heard all of the evidence in the case as

 well as the final arguments of the lawyers for the government

 and for the defendant, Evan Greebel.

            My duty at this point is to instruct you as to the

 law.    It is your duty to accept these instructions of law and

 apply them to the facts as you determine them, just as it has

 been my duty to preside over the trial and decide what testimony

 and evidence is relevant under the law for your consideration.

            On these legal matters, you must take the law as I

 give it to you.     Even if any attorney or witness has stated a

 legal principle different from any that I state to you in my

 instructions, it is my instructions that you must follow.

            You should not, any of you, be concerned about the

 wisdom of any rule that I state.         Regardless of any opinion that


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 you may have as to what the law may be — or ought to be — it

 would violate your sworn duty to base a verdict upon any other

 view of the law than that which I give you.

            Authority:     See Sand, 2-2 (Role of the Court).

 2.   Role of the Jury

            As members of the jury, you are the sole and exclusive

 judges of the facts.      Your role is to pass upon the weight of

 the evidence; determine the credibility of the witnesses;

 resolve such conflicts as there may be in the testimony; and

 draw whatever reasonable inferences you decide to draw from the

 facts as you have determined them.

            In determining the facts, you must rely upon your own

 recollection of the evidence. What the lawyers have said in

 their opening statements, in their closing arguments, in their

 objections, or in their questions, is not evidence.           Nor is

 anything I may have said during the trial or may say during

 these instructions with respect to a factual matter to be taken

 in substitution for your own independent recollection.            What I

 say is not evidence.

            The evidence before you consists of the answers given

 by witnesses — the testimony they gave, as you recall it – and

 the exhibits and stipulations that were received in evidence.

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            The evidence does not include questions. Only the

 answers are evidence. But you may not consider any answer that I

 directed you to disregard or that I directed struck from the

 record. Do not consider such answers.

            Throughout this trial, I have reminded you not to

 conduct any outside research into this case.          I have also

 instructed you to consciously avoid any media about this case.

 Likewise, during deliberations, you may only consider the

 evidence admitted at trial and may not utilize any other

 information obtained outside the courtroom, including, but not

 limited to, research on the internet, opinions or statements

 outside the courtroom, or other sources.         You must completely

 disregard any media reports about this case that you have read

 in the press, seen on television, or heard on the radio. Indeed,

 it would be unfair to consider such reports, since they are not

 evidence and the parties have no opportunity of contradicting

 their accuracy or otherwise explaining them away. In short, it

 would be a violation of your oath as jurors to allow yourselves

 to be influenced in any manner by such media.

            Since you are the sole and exclusive judges of the

 facts, I do not mean to indicate any opinion as to the facts or

 what your verdict should be.       The rulings I have made during the

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 trial are not any indication of my views of what your decision

 should be as to whether or not the government has proven that

 Mr. Greebel is guilty beyond a reasonable doubt.

            I also ask you to draw no inference from the fact that

 upon occasion I asked questions of certain witnesses. These

 questions were only intended for clarification or to expedite

 matters and certainly were not intended to suggest any opinions

 on my part as to the verdict you should render or whether any of

 the witnesses may have been more credible than any other

 witness. You are expressly to understand that the court has no

 opinion as to the verdict you should render in this case.

            As to the facts, ladies and gentlemen, you are the

 exclusive judges. You are to consider the evidence with

 impartiality.    Your verdict must be based solely upon the

 evidence developed at trial or the lack of evidence.

            In reaching your decision as to whether the government

 sustained its burden of proof, it would be improper for you to

 consider any personal feelings you may have about Mr. Greebel’s

 race, religion, national origin, sex, age, or profession.            It

 would be equally improper for you to allow any feelings you

 might have about the nature of the crimes charged to interfere

 with your decision-making process.        All persons are entitled to

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 the presumption of innocence from the start of the trial through

 the end, and that presumption of innocence remains unless and

 until you have decided unanimously that the government has met

 its burden of proof, which I will discuss in a moment.

             The fact that the prosecution is brought in the name

 of the United States of America entitles the government to no

 greater consideration than that accorded to any other party to a

 litigation.    By the same token, it is entitled to no less

 consideration.     All parties, whether government or individuals,

 are equal before the law.

             If you have a reasonable doubt as to Mr. Greebel’s

 guilt as to a particular count, you should not hesitate for any

 reason to find a verdict of acquittal on that count.            But on the

 other hand, if you should find that the government has met its

 burden of proving that Mr. Greebel is guilty beyond a reasonable

 doubt as to a particular count, you should not hesitate because

 of sympathy or any other reason to render a verdict of guilty on

 that count.

             Under your oath as jurors, you are not to be swayed by

 sympathy. You are to be guided solely by the evidence in this

 case, and the crucial question that you must ask yourselves as

 you sift through the evidence is: Has the government proven that

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 Mr. Greebel is guilty of each count beyond a reasonable doubt?

 It is for you alone to decide whether the government has proven

 that Mr. Greebel is guilty of each of the two counts charged,

 solely on the basis of the evidence and subject to the law as I

 charge you. If you follow your oath, and try the issues without

 fear or prejudice or bias or sympathy, you will arrive at a true

 and just verdict.

           Authority: See Sand, 2-3 (Role of the Jury); 2-4
 (Juror Obligations (see Comment regarding Second Circuit
 charge); 2-11 (Improper Considerations – Matters the Jury May
 Not Consider); see 2-5 (The Government as a Party); see 2-12
 (Sympathy); 2-21 (Contact with Others (instruction against
 outside research)); 2-17 (Publicity – Final Charge).

 3.    Conduct of Counsel

             It is the duty of the attorneys on each side of a case

 to object when the other side offers testimony or other evidence

 which the attorneys believe is not properly admissible.             Counsel

 also have the right and duty to ask the court to make rulings of

 law and to request conferences at the side bar out of the

 hearing of the jury.      All those questions of law must be decided

 by me, the court.      You should not show any prejudice against an

 attorney or his or her client because the attorney objected to

 the admissibility of evidence, or asked for a conference out of




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 the hearing of the jury, or asked the court for a ruling on the

 law.

             During the course of the trial, I may have admonished

 an attorney. You should draw no inference against the attorney

 or the client. It is the duty of the attorneys to offer evidence

 and press objections on behalf of their client.           It is my

 function to cut off counsel from an improper line of argument or

 questioning, and to strike answers when I think it is necessary.

 But you should draw no inference from that.

             In fact, in this case, I would like to express my

 gratitude to each of the attorneys for their conscientious

 efforts on behalf of their clients and for work well done.

           Authority: See Sand, 2-8 (Conduct of Counsel); 2-9
 (Reprimand of Counsel for Misconduct).

 4.     Presumption of Innocence and Burden of Proof

             Evan Greebel is before you today because he has been

 charged in a Superseding Indictment with violating federal law

 in two counts.     The Superseding Indictment is merely a statement

 of charges, and is not itself evidence.          Mr. Greebel has pleaded

 not guilty to the two crimes with which he is charged in the

 Superseding Indictment.       Mr. Greebel is therefore presumed to be




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 innocent of the charges against him, and that presumption alone,

 unless overcome, is sufficient to acquit him.

             To convict Mr. Greebel, the burden is on the

 government to prove each and every element of each of the two

 charged crimes beyond a reasonable doubt.          This burden never

 shifts to a defendant, for the simple reason that the law

 presumes Mr. Greebel to be innocent.         Mr. Greebel is not

 required to prove that he is innocent and has no burden or duty

 to call any witness or produce any evidence.

             Every defendant starts with a clean slate and is

 presumed innocent of each of the charges until such time, if

 ever, that you as a jury are satisfied that the government has

 proven the defendant guilty of a given charge beyond a

 reasonable doubt.      If the government fails to prove every

 element of a charge beyond a reasonable doubt, you must find

 Mr. Greebel not guilty as to that charge.

           Authority: See Sand, 4-1 (Presumption of Innocence
 and Burden of Proof).

 5.    Reasonable Doubt

             What is a reasonable doubt?       It is a doubt based on

 reason. It is doubt that a reasonable person has after carefully

 weighing all of the evidence. It is a doubt that would cause a


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 reasonable person to hesitate to act in a matter of importance

 in his or her personal life.        Proof beyond a reasonable doubt

 must, therefore, be proof of a convincing character that a

 reasonable person would not hesitate to rely on in making an

 important decision in his or her life.

             A reasonable doubt is not a caprice or whim; it is not

 a speculation or suspicion.       It is not an excuse to avoid the

 performance of an unpleasant duty.         The law does not require

 that the government prove guilt beyond all possible doubt; proof

 beyond a reasonable doubt is sufficient to convict.

             If, after fair and impartial consideration of all of

 the evidence or lack of evidence concerning a particular charge

 against Mr. Greebel, you have a reasonable doubt, you must find

 Mr. Greebel not guilty of that charge.         On the other hand, if

 after fair and impartial consideration of all the evidence, you

 are satisfied that the government has proven that Mr. Greebel is

 guilty beyond a reasonable doubt, you should find Mr. Greebel

 guilty of that charge.

           Authority: Sand, 4-2 (Reasonable Doubt); United
 States v. Glover, 511 F.3d 340, 343 (2d Cir. 2008).




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 6.    Forms of Evidence

             I now will instruct you as to what is evidence and how

 you should consider it.

 A.    What Is Evidence:

             The evidence in this case comes in several forms:

             1.    Sworn testimony of witnesses, including expert

                   witnesses, both on direct and cross-examination;

             2.    Exhibits that have been received by the court in

                   evidence;

             3.    Certain exhibits admitted in evidence in the form

                   of charts, summaries and demonstratives. You

                   should consider these charts and summaries as you

                   would any other evidence; and

             4.    Stipulations of fact to which all the attorneys

                   have agreed.    A stipulation means simply that the

                   government and the defendant accept the truth of

                   a particular proposition or fact.        Here, the

                   attorneys for the government and the attorneys

                   for Mr. Greebel have entered into stipulations

                   concerning the admission of certain facts and

                   documents that are relevant to this case. You

                   should accept these stipulations as evidence and

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                   regard those facts as true, to be given whatever

                   weight you choose.

             If I instructed you that a certain document or

 statement was received in evidence for a limited purpose, you

 must consider that document or statement for that limited

 purpose only.




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 B.    What Is Not Evidence:

             Certain things are not evidence and are to be

 disregarded by you in deciding what the facts are:

             1.    The Superseding Indictment is not evidence and is

                   entitled to no weight in your evaluation of the

                   facts.

             2.    Arguments or statements by the attorneys are not

                   evidence.

             3.    A lawyer’s questions of a witness in and of

                   themselves are not evidence - only the answer

                   constitutes evidence.

             4.    Objections to the questions or to offered

                   exhibits are not evidence.       Attorneys have a duty

                   to object when they believe evidence should not

                   be received.    You should not be influenced by the

                   objection or by the court’s ruling on it.          If the

                   objection was sustained, ignore the question.          If

                   the objection was overruled, treat the answer

                   like any other answer.

             5.    Any testimony stricken by the court is not

                   evidence.




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             6.    Any exhibits identified, but not admitted into

                   evidence by the court, are not evidence, however,

                   testimony regarding such exhibits is evidence.

                   You should disregard any gaps in numbering

                   between exhibits.

             7.    Any redacted portions of any exhibits are not

                   themselves evidence, and you should not speculate

                   as to why the exhibit was redacted and what might

                   be contained in any redacted portions of an

                   exhibit.

             8.    Obviously, anything you may have seen or heard

                   outside the courtroom is not evidence.

             9.    Any notes you may have taken during the course of

                   the trial are not evidence.

             Your verdict must be based exclusively upon the

 evidence or the lack of evidence in this case.

 7.    Direct and Circumstantial Evidence:

             I told you that evidence comes in various forms such

 as the sworn testimony of witnesses, expert witnesses, exhibits,

 charts and summaries, and stipulations.          There are, in addition,

 different types of evidence - direct and circumstantial.




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             1.    Direct evidence:     Direct evidence is evidence

                   that proves a fact directly.       For example, when a

                   witness testifies to what he or she saw, heard or

                   observed, that is called direct evidence.

             2.    Circumstantial evidence:       Circumstantial evidence

                   is evidence that tends to prove a disputed fact

                   by proof of other facts. To give a simple

                   example, suppose that when you came into the

                   courthouse today the sun was shining and it was a

                   nice day, but the courtroom blinds were drawn and

                   you could not look outside. Then later, as you

                   were sitting here, several people walked in with

                   dripping wet umbrellas and dripping wet

                   raincoats.    Because you cannot look outside of

                   the courtroom and cannot see whether or not it is

                   raining, you have no direct evidence that it is

                   raining. But, on the combination of the facts

                   about the dripping wet umbrellas and raincoats,

                   it would be reasonable for you to infer that it

                   had begun to rain. That is all there is to

                   circumstantial evidence. Using your reason and

                   experience, you infer from established facts the

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                   existence or the nonexistence of some other fact.

                   Whether a given inference should be drawn is

                   entirely a matter for you, the jury, to decide.

                   Please note, however, that drawing an inference

                   is not a matter of speculation or guess; it is a

                   matter of logical inference.

             The law makes no distinction between direct and

 circumstantial evidence.       Circumstantial evidence is of no less

 value than direct evidence, and you may consider either or both,

 and may give them such weight as you conclude is warranted.

           Authority: See Sand, 5-2 (Direct and Circumstantial
 Evidence).

 8.    Inferences

             The attorneys have asked you to infer, on the basis of

 your reason, experience, and common sense, from one or more

 established facts, the existence of some other fact.

             An inference is not a suspicion or a guess. It is a

 reasoned, logical decision to conclude that a disputed fact

 exists on the basis of another fact that you know exists.

             There are times when different inferences may be drawn

 from facts, whether proved by direct or circumstantial evidence.

 The government may ask you to draw one set of inferences, while


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 the defense may ask you to draw another. It is for you, and you

 alone, to decide what inferences you will draw.

             The process of drawing inferences from facts in

 evidence is not a matter of guesswork or speculation.            An

 inference is a deduction or conclusion that you, the jury, are

 permitted to draw – but not required to draw – from the facts

 that have been established by either direct or circumstantial

 evidence. In drawing inferences, you should exercise your common

 sense.

             So, while you are considering the evidence presented

 to you, you are permitted, but not required, to draw from the

 facts that you find to be proven such reasonable inferences as

 would be justified in light of your experience.

             Here again, let me remind you that, whether based on

 direct or circumstantial evidence, or on the logical, reasonable

 inferences drawn from such evidence, you must be satisfied that

 the government has proven that Mr. Greebel is guilty beyond a

 reasonable doubt before you may convict on either charge.

             Authority:    Sand, 6-1 (Inference Defined).

 9.    Credibility of Witnesses

             You the jury are the sole judges of the credibility –

 or believability – of the witnesses and the weight their

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 testimony deserves.      You should carefully scrutinize all of the

 testimony given, the circumstances under which each witness

 testified, and any other matter in evidence that may help you to

 decide the truth and the importance of each witness’s testimony.

             Your decisions in this respect may depend on how each

 witness impressed you.       Was the witness candid and forthright or

 did the witness seem to be hiding something, being evasive or

 suspect in some way?      How did the witness’s testimony on direct

 examination compare with the witness’s testimony on cross-

 examination?     Was the witness consistent in the testimony given

 or were there contradictions?        Did the witness appear to know

 what she or he was talking about and did the witness strike you

 as someone who was trying to report that knowledge accurately?

 These are examples of the kinds of common sense questions you

 should ask yourselves in deciding whether a witness is, or is

 not, truthful.

             You should also consider whether a witness had an

 opportunity to observe the facts he or she testified about.

 Also, you should consider whether the witness’s recollection of

 the facts stands up in light of the other evidence in the case.

             How much you choose to believe a witness may also be

 influenced by the witness’s bias. Does the witness have a

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 relationship with the government or Mr. Greebel that may affect

 how he or she testified? Does the witness have some incentive,

 loyalty, or motive that might cause him or her to shade the

 truth? Does the witness have some bias, prejudice, or hostility

 that may cause the witness to give you something other than a

 completely accurate account of the facts he or she testified to?

             Evidence that a witness is biased, prejudiced or

 hostile, toward either Mr. Greebel or the government, requires

 you to view that witness’s testimony with caution, to weigh it

 with care, and to subject it to close and searching scrutiny.

             You should also take into account any evidence that

 the witness who testified may benefit in some way from the

 outcome of this case. Such an interest in the outcome creates a

 motive to testify falsely and may sway the witness to testify in

 a way that advances his own interests. Therefore, if you find

 that any witness whose testimony you are considering may have an

 interest in the outcome of this trial, then you should bear that

 factor in mind when evaluating the credibility of his or her

 testimony and accept it with great care.

             This is not to suggest that every witness who has an

 interest in the outcome of a case will testify falsely. It is



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 for you to decide to what extent, if at all, the witness’s

 interest has affected or colored his or her testimony.

             You have also heard evidence of what counsel claim are

 discrepancies in the testimony of certain witnesses, and counsel

 have argued that such discrepancies are a reason for you to

 reject the testimony of those witnesses.          Evidence of

 discrepancies may be a basis to disbelieve a witness’s

 testimony. On the other hand, discrepancies in a witness’s

 testimony or between his or her testimony and that of others do

 not necessarily mean that the witness’s entire testimony should

 be discredited.     People sometimes forget things and even a

 truthful witness may be nervous and contradict him- or herself.

 It is also a fact that two people witnessing an event may see or

 hear it differently. Whether a discrepancy pertains to a fact of

 importance or only to a trivial detail should be considered in

 weighing its significance.

             A willful falsehood always is a matter of importance

 and should be considered seriously.         If any witness is shown to

 have willfully lied about any material matter, you have the

 right to conclude that the witness also lied about other

 matters. You may either disregard all of that witness’s

 testimony, or you may accept whatever part of it you think

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 deserves to be believed. It is for you to decide, based on your

 total impression of a witness, how to weigh his or her

 testimony. You should, as always, use common sense and your own

 good judgment.

           Authority: United States v. Rivera, No. 13-cr-149
 (E.D.N.Y. 2015) (instruction on discrepancies in testimony); see
 Sand, 7-1 (Witness Credibility — General Instructions); 7-2
 (Bias and Hostility); 7-3 (Interest in Outcome).




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 10.   Impeachment of Witnesses

             You do not have to accept the testimony of any witness

 who has not been contradicted or impeached, if you find the

 witness not to be credible.       You may, but need not, find that a

 witness is contradicted or impeached, for example, if you find

 that he or she testified to something that was inconsistent with

 what he or she testified to in the past, or which was

 inconsistent with documents, the testimony of another witness,

 or other evidence.      You also have to decide which witnesses to

 believe and which facts are true.         To do this you must look at

 all the evidence, drawing upon your own common sense and

 personal experience.      You should keep in mind that the burden of

 proof is always on the government and that Mr. Greebel is not

 required to call any witnesses or offer any evidence, because he

 is presumed to be innocent.

           Authority: See Sand, 4-3 (Number of Witnesses and
 Uncontradicted Testimony) (modified to remove language regarding
 the number of witnesses).

 11.   Defendant’s Right Not to Testify

             Mr. Greebel did not testify in this case.          Under the

 United States Constitution, a defendant has no obligation to

 testify or to present any evidence, because it is the

 government’s burden to prove the defendant guilty beyond a

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 reasonable doubt.      That burden remains with the government

 throughout the entire trial and never shifts to the defendant.

 Mr. Greebel is not required to prove that he is innocent,

 because his innocence as to each charge is presumed unless and

 until you find unanimously that the government has met its

 burden of proving that Mr. Greebel is guilty beyond a reasonable

 doubt.

             Therefore, you must not attach any significance to the

 fact that Mr. Greebel did not testify in this case.            You must

 not draw any adverse inference against him because he did not

 take the witness stand and you may not consider or even discuss

 it in any way in your deliberations in the jury room.

           Authority: Sand, 5-21 (Improper Consideration of the
 Defendant’s Right to Testify).

             [Alternative: Defendant’s Testimony

             In a criminal case, a defendant cannot be required to

 testify, but, if he chooses to testify, he is, of course,

 permitted to take the witness stand on his own behalf. In this

 case, Mr. Greebel decided to testify. You should examine and

 evaluate Mr. Greebel’s testimony just as you would the testimony

 of any witness with an interest in the outcome of this case.

             Authority: Sand, 7-4.]


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 12.   Testimony of Government Employees/Law Enforcement Witnesses

             In this case, you have also heard testimony from

 witnesses who work for the FBI, a law enforcement agency.               The

 testimony of this witnesses should be evaluated in the same

 manner as the testimony of any other witness.           The fact that a

 witness may be employed by the government does not mean that you

 may accord his or her testimony any more or less weight than

 that of any other witness.       At the same time, defense counsel

 may question the credibility of a witness employed by the

 government, including a witness who works in law enforcement, on

 the grounds that his or her testimony may be colored by a

 personal or professional interest in the outcome of the case.

 It is for you to decide, after weighing all the evidence, in

 light of the instructions I have given you about factors

 relevant to determining the credibility of any witness, whether

 you accept the testimony of a government employee witness and

 what weight, if any, it deserves.

             Authority:    Sand 7-16 (Law Enforcement Witness).

 13.   Expert Witnesses

             In this case, I have permitted certain witnesses to

 express their opinions about matters that are in issue.             A

 witness may be permitted to testify to an opinion on those

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 matters about which he or she has special knowledge, skill,

 experience and training.       Such testimony is presented to you on

 the theory that someone who is experienced and knowledgeable in

 the field can assist you in understanding the evidence or in

 reaching an independent decision on the facts.

             In weighing this opinion testimony, you may consider

 the witness’ qualifications, his or her opinions, the reasons

 for testifying, as well as all of the other considerations that

 ordinarily apply when you are deciding whether or not to believe

 a witness’ testimony.      You may give the opinion testimony

 whatever weight, if any, you find it deserves in light of all

 the evidence in this case.       You should not, however, accept

 opinion testimony merely because I allowed the witness to

 testify concerning his or her opinion.         Nor should you

 substitute it for your own reason, judgment and common sense.

 The determination of the facts in this case rests solely with

 you.

             Authority: Sand, 7-21.

 14.    Prior Inconsistent Statements

             You have heard evidence that some witnesses made

 statements on earlier occasions, and counsel have argued that

 these prior statements are inconsistent with the trial testimony

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 of these witnesses.      Evidence of what counsel argues are

 arguably prior inconsistent statements was placed before you for

 the limited purpose of helping you decide whether to believe the

 trial testimony of the witness who arguably contradicted himself

 or herself.    If you find that the witness made an earlier

 statement that conflicts with his or her trial testimony, you

 may consider that fact in deciding how much of his or her trial

 testimony, if any, to believe.

             In making this determination, you may consider whether

 the witness purposely made a false statement or whether it was

 an innocent mistake; whether the inconsistency concerns an

 important fact, or whether it had to do with a small detail;

 whether the witness had an explanation for the inconsistency,

 and whether that explanation appealed to your common sense.

             It is exclusively your duty, based upon all the

 evidence and your own good judgment, to determine whether the

 prior statement was inconsistent and, if so, how much, if any,

 weight should be given to the inconsistent statement in

 determining whether to believe all, part, or none of the

 witness’s testimony.

             Authority: Sand, 7-19 (Prior Inconsistent Statements).



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 15.   Preparation for Testimony

             During the course of trial, you heard testimony that

 the attorneys for the parties interviewed witnesses when

 preparing for and during trial.        Attorneys have an obligation to

 prepare their case as thoroughly as possible, and in the

 discharge of that responsibility properly interview witnesses in

 preparation for the trial and from time to time as may be

 required during the course of the trial.

           Authority: United States v. Rivera, No. 13-cr-149
 (E.D.N.Y. 2015); Sand, Seventh Circuit Pattern Jury Instruction
 3.02.
 16. No Duty to Call Witnesses or Produce Evidence or Use
      Particular Investigative Techniques

             Although the government bears the burden of proof

 beyond a reasonable doubt, and although a reasonable doubt can

 arise from lack of evidence, you are instructed that there is no

 legal requirement that the government use any specific

 investigative techniques or pursue every investigative lead to

 prove its case.     Therefore, although you are to carefully

 consider the evidence adduced by the government, you are not to

 speculate as to why they used the techniques they did or why

 they did not use other techniques.

             In this regard, I also charge you that all persons who

 may have been present at any time or place mentioned in the

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 case, or who may appear to have some knowledge of the issues in

 this case, need not be called as witnesses.          Both the government

 and the defense have the same right to subpoena witnesses to

 testify on their behalf.       There is no duty on either side,

 however, to call a witness whose testimony would be merely

 cumulative of testimony already in evidence, or who would merely

 provide additional testimony to facts already in evidence.             Nor

 does the law require that all things mentioned during the course

 of the trial be produced as exhibits. I remind you, however,

 that because the law presumes that Mr. Greebel is innocent, the

 burden of proving his guilt beyond a reasonable doubt is on the

 government throughout the trial.          Mr. Greebel does not have the

 burden of proving his innocence or of producing any evidence or

 calling any witnesses at all.

           Authority: Sand, 4-4 (No Duty to Call Witnesses or
 Produce Evidence or use Particular Investigative Techniques);
 Rivera (instruction that uncalled witnesses are equally
 available); Sand, 6-7 (Witnesses Equally Available).

 17.   Informal Agreements

             You have heard testimony from Alan Geller and Jackson

 Su, who have been promised by the government that in exchange

 for testifying truthfully, completely, and fully, they will not

 be prosecuted for any crimes that they may have admitted either


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 here in court or in interviews with the government.            These

 promises were not a formal order of immunity by the court, but

 were arranged directly between the witnesses and the government.

             The government is permitted to make these kinds of

 promises and is entitled to call as witnesses people to whom

 these promises are given.       You are instructed that you may

 convict a defendant on the basis of such a witness’ testimony

 alone, if you find that his testimony proves the defendant

 guilty beyond a reasonable doubt.

             However, the testimony of a witness who has been

 promised that he will not be prosecuted or who has been granted

 immunity for his testimony by the government should be examined

 by you with greater care than the testimony of an ordinary

 witness.    You should scrutinize it closely to determine whether

 or not it is colored in such a way as to place guilt upon the

 defendant in order to further the witness’ own interests,

 because such a witness, confronted with the realization that he

 can win his own freedom from prosecution by helping to convict

 another, has a motive to falsify his testimony.

             Such testimony should be received by you with

 suspicion and you may give it such weight, if any, as you

 believe it deserves.

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 18.   Consider Only this Defendant

             You have heard evidence about the involvement of

 certain other people in the crimes charged in the Superseding

 Indictment. You may not draw any inference, favorable or

 unfavorable, towards the government or Mr. Greebel from the fact

 that certain persons are not on trial before you.           It is not

 your concern that these other individuals are not on trial

 before you, nor should you speculate as to whether or not they

 were indicted. You should neither speculate as to the reason

 these other people are not on trial before you, nor allow their

 absence as parties to influence in any way your deliberations in

 this case.    Nor should you draw any inference from the fact that

 any other person is not present at this trial or may or may not

 be indicted. Your concern is solely the person on trial before

 you, Mr. Greebel.

             Your verdict should be based solely upon the evidence

 or lack of evidence as to Mr. Greebel, in accordance with my

 instructions and without regard to whether the guilt of other

 people has or has not been proven.

           Authority: Sand, 2-18 (Jury to Consider Only this
 Defendant); 3-4 (Failure to Name a Defendant).




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 19.   Approximate Dates

             The Superseding Indictment charges that the offenses

 at issue took place “in or about” and “between” certain dates.

 The proof need not establish with certainty the exact date of

 the alleged offenses.      The law requires a substantial similarity

 between the date alleged in the Superseding Indictment and the

 date established by the evidence.

                              II.   THE CHARGES

             I will now turn to the second part of my instructions.

 In this part, I will instruct you as to the specific elements of

 the crimes charged that the government must prove beyond a

 reasonable doubt to warrant a finding of guilt in this case.

 1.    Summary of the Superseding Indictment; Consider Only the
       Charges; Consider Each Count Separately

             I will begin by summarizing for you the two charges

 alleged in the Superseding Indictment, which as I mentioned is

 merely a statement of the charges, and is not evidence.

 Mr. Greebel is not charged with committing any crime other than

 the offenses contained in the Superseding Indictment.

             The Superseding Indictment contains a total of two

 counts against Mr. Greebel.        Each of the two counts charges Mr.

 Greebel with a different crime related to an entity known as



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 Retrophin.    In one of the counts of the Superseding Indictment,

 Mr. Greebel is charged with conspiracy to commit wire fraud, and

 in the other count, he is charged with conspiracy to commit

 securities fraud.

             You must consider each of the two counts of the

 Superseding Indictment separately, and you must return a

 separate verdict for each count.          Whether you find Mr. Greebel

 guilty or not guilty as to one offense charged in a count should

 not affect your verdict as to the offense charged in the other

 count.    For the sake of clarity, I will refer to the two counts

 as Count One and Count Two.

           Authority: Sand, 3-3 (Consider Only the Charges
 (modified)); 3-6 (One Defendant – Multiple Counts).

 2.    Knowingly, Willfully, and Intentionally Defined

             During these instructions, you will hear me use the

 terms “knowingly,” “willfully,” and “intentionally.”            Therefore,

 I will define these terms for you.

 A.    Knowingly

             To act “knowingly” means to act intentionally and

 voluntarily, and not because of ignorance, mistake, accident,

 negligence, or carelessness, or as a result of being misled or

 deceived.    Whether Mr. Greebel acted knowingly may be proven by



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 his conduct and by evidence of all of the facts and

 circumstances surrounding the case.

             Authority:    Sand 3A-1 (Knowingly).

 B.    Willfully

             “Willfully” means to act with knowledge that one’s

 conduct is unlawful and with an intent to do something the law

 forbids; that is to say, with a bad purpose either to disobey or

 to disregard the law.       A defendant’s conduct is not “willful” if

 it was due to negligence, inadvertence, or mistake.

             Authority: Sand, 3A-3 (Willfully).

 C.    Intentionally

             A person acts “intentionally” when he acts

 deliberately and purposefully.        That is, the defendant’s acts

 must have been the product of his conscious objective decision

 rather than the product of a mistake or accident.

             Whether a person acted knowingly, willfully, or

 intentionally is a question of fact for you to determine, like

 any other fact question.       Direct proof of knowledge and

 fraudulent intent is almost never available.          It would be a rare

 case where it could be shown that a person wrote or stated that

 as of a given time in the past he committed an act with

 fraudulent intent.       Such direct proof is not required.       The

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 ultimate facts of knowledge and criminal intent, though

 subjective, may be established by circumstantial evidence, based

 upon a person’s outward manifestations, his words, his conduct,

 his acts and all the surrounding circumstances disclosed by the

 evidence and the rational or logical inferences that may be

 drawn therefrom.      In either case, the government must prove the

 elements of the crime charged beyond a reasonable doubt.

           Authorities: See Sand, 57-24 (Second Element –
 Knowledge, Intent and Willfulness for Securities Fraud); 44-5
 (Second Element – Participation in Scheme with Intent for Wire
 Fraud).

               COUNT ONE: Conspiracy to Commit Wire Fraud

             Count One of the Superseding Indictment charges

 Mr. Greebel with conspiracy to commit wire fraud as to Retrophin

 as follows:

             In or about and between February 2011 and September
             2014, both dates being approximate and inclusive,
             within the Eastern District of New York and elsewhere,
             the defendant EVAN GREEBEL, together with others, did
             knowingly and intentionally conspire to devise a
             scheme and artifice to defraud Retrophin, and to
             obtain money and property from Retrophin by means of
             materially false and fraudulent pretenses,
             representations and promises, and for the purpose of
             executing such scheme and artifice, to transmit and
             cause to be transmitted by means of wire communication
             in interstate and foreign commerce writings, signs,
             signals, pictures and sounds, contrary to Title 18,
             United States Code, Section 1343.



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 1.    Conspiracy to Commit Wire Fraud

             I will now explain what it means to conspire to commit

 wire fraud. The relevant statute is Title 18, Section 1349 of

 the United States Code, which provides, in relevant part, that

 it shall be unlawful for any person to “conspire[] to commit”

 wire fraud.

             A conspiracy is a kind of criminal partnership, at the

 heart of which is an agreement or understanding by two or more

 persons to violate other laws.        A conspiracy to commit a crime

 is an entirely separate and different offense from the

 underlying crime that the conspirators intended to commit.

 Thus, if a conspiracy exists, the conspiracy is still punishable

 as a crime, even if it should fail to achieve its purpose of the

 underlying substantive crime.        A defendant may be found guilty

 of conspiracy even if he was incapable of committing the

 underlying substantive crime.        Consequently, for Mr. Greebel to

 be guilty of conspiracy, there is no need for the government to

 prove that he or any other conspirator actually succeeded in

 their criminal goals or even that they could have succeeded as

 to the underlying substantive crime.         With respect to Count One,

 the government alleges that Mr. Greebel conspired with others to




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 defraud Retrophin in order to obtain Retrophin assets by wire

 fraud.

             To prove the crime of conspiracy to commit wire fraud,

 the government must prove two elements beyond a reasonable

 doubt:

             First, that Mr. Greebel and at least one other person

 entered into an agreement to commit wire fraud, a crime I will

 define for you; and

             Second, that Mr. Greebel knowingly and intentionally

 became a member of the conspiracy.

             You must reach a unanimous decision in connection with

 each element.     I will now describe these elements.

           Authority: Adapted from Sand, 19-2 (Purpose of the
 Statute); 19-3 (Elements of Conspiracy).

 A.    First Element: Existence of the Agreement

             The first element that the government must prove

 beyond a reasonable doubt for Count One is that Mr. Greebel and

 at least one other person entered into the charged agreement to

 commit wire fraud.      One person cannot commit a conspiracy alone.

 Rather, the proof must convince you that at least two persons

 joined together in a common criminal scheme.          The government

 need not prove that members of the conspiracy met together or


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 entered into any express or formal agreement.           You need not find

 that the alleged conspirators stated, in words or writing, what

 the scheme was, its object or purpose, or the means by which the

 scheme was to be accomplished.        It is sufficient if the

 government proves, beyond a reasonable doubt, that the

 conspirators tacitly came to a mutual understanding to

 accomplish an unlawful act by means of a joint plan or common

 design.    But proof that people simply met together from time to

 time and talked about common interests, or engaged in similar

 conduct, is not enough to establish a criminal agreement.

             You may, of course, find that the existence of an

 agreement between two or more persons to violate the law has

 been established by direct proof. But since, by its very nature,

 a conspiracy is characterized by secrecy to conceal the unlawful

 agreement, direct proof may not be available. Therefore, you

 may, if you choose, infer the existence of a conspiracy from the

 circumstances of this case and the conduct of the parties

 involved. In a very real sense, then, in the context of

 conspiracy cases, actions often speak louder than words.             In

 determining whether an agreement existed here, you may consider

 the actions and statements of all those you find to be

 participants in the conspiracy as proof that a common design

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 existed to act together for the accomplishment of the unlawful

 purpose stated in the Superseding Indictment.

           Authority:      Adapted from Sand, 19-4 (Existence of
 Agreement).

 B.    Second Element: Membership in the Conspiracy

             The second element the government must prove beyond a

 reasonable doubt for Count One is that Mr. Greebel knowingly and

 intentionally became a member in the charged conspiracy.             I have

 explained to you what it means to act knowingly and

 intentionally, and I refer you to those instructions.            (See pp.

 33-34.)    As I explained, a person acts knowingly and

 intentionally if he acts voluntarily, deliberately, and

 purposefully, and not because of ignorance, mistake, accident,

 negligence or carelessness.       In other words, did Mr. Greebel

 participate in the conspiracy with knowledge of its unlawful

 purpose and with the specific intention of furthering its

 business or objective?       Knowledge and intent may be inferred

 from a secretive or irregular manner in which activities are

 carried out. Whether a defendant acted knowingly may be proven

 by the defendant’s conduct and by all of the facts and

 circumstances surrounding the case.




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             In order for Mr. Greebel to be deemed a member of a

 conspiracy, he need not have had a stake in the venture or its

 outcome.     While proof of a financial or other interest in the

 outcome of a scheme is not required, if you find that

 Mr. Greebel did have such an interest, it is a factor you may

 properly consider in determining whether or not he was a member

 of the conspiracy charged in the Superseding Indictment.

             Mr. Greebel’s participation in the conspiracy must be

 established by independent evidence of his own acts or

 statements, as well as those of the other alleged co-

 conspirators, and the reasonable inferences that may be drawn

 from them.

             A defendant’s knowledge may be inferred from the facts

 proved.    In that connection, I instruct you that, to become a

 member of the conspiracy, a defendant need not have been

 apprised of all of the activities of all members of the

 conspiracy.    Moreover, a defendant need not have been fully

 informed as to all of the details, or the scope, of the

 conspiracy in order to justify an inference of knowledge on his

 part.     In addition, a defendant need not have joined in all of

 the conspiracy’s unlawful objectives.



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             Each member of a conspiracy may perform separate and

 distinct acts and may perform them at different times.            Some

 conspirators play major roles, while others play minor parts in

 the scheme.     An equal role is not what the law requires. Even a

 single act may be sufficient to draw a defendant within the

 ambit of the conspiracy.       The key inquiry is simply whether a

 defendant joined the conspiracy charged with an awareness of at

 least some of the basic aims and purposes of the unlawful

 agreement and with the intent to help it succeed.

             In considering whether a defendant participated in a

 conspiracy, be advised that a conspirator’s liability is not

 measured by the extent or duration of his participation as he

 need not have been a member of the conspiracy for the entire

 time of its existence.       I caution you that mere knowledge or

 acquiescence, without participation, in the unlawful plan is not

 sufficient.    Moreover, the fact that the acts of a defendant,

 without knowledge, merely happen to further the purposes or

 objectives of the conspiracy, does not make the defendant a

 member.    Mere presence during the commission of a crime, even

 when coupled with knowledge that a crime is being committed, is

 insufficient to prove membership in a conspiracy.            More is

 required under the law.

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             What is required is that a defendant must have

 participated with knowledge of at least some of the purposes or

 objectives of the conspiracy and with the intention of aiding in

 the accomplishment of those unlawful ends.          In sum, the

 defendant, with an understanding of the unlawful character of

 the conspiracy, must have intentionally engaged, advised or

 assisted in it for the purpose of furthering the illegal

 undertaking.

             If you find that the government has not proven either

 of these elements beyond a reasonable doubt, then you must find

 Mr. Greebel not guilty of Count One.

           Authority:      Adapted from Sand, 19-6 (Membership in the
 Conspiracy).

 C.    Venue

             I have explained to you the elements the government

 must prove beyond a reasonable doubt as to Count One.             In

 addition, the government must prove that venue is proper in the

 Eastern District of New York.        Unlike the elements of conspiracy

 which the government must prove beyond a reasonable doubt, the

 government must prove that venue is proper by a preponderance of

 the evidence.     To establish a fact by a preponderance of the

 evidence means to prove that the fact is more likely true than


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 not.   A preponderance of the evidence means the greater weight

 of the evidence, both direct and circumstantial. It refers to

 the quality and persuasiveness of the evidence, not to the

 quantity of evidence.

             Thus, as to the conspiracy charged in Count One, the

 government must prove that it is more likely than not that the

 agreement was formed or that an overt act in furtherance of the

 conspiracy was committed in the Eastern District of New York,

 which includes the boroughs of Queens, Brooklyn (also known as

 Kings County), Staten Island (also known as Richmond County),

 and the counties of Suffolk and Nassau, New York.            In this

 regard, the government need not prove that the crime charged was

 committed in the Eastern District of New York or that Mr.

 Greebel or any alleged co-conspirator was even physically

 present here.     It is sufficient to satisfy the venue requirement

 if an overt act in furtherance of the conspiracy occurred within

 the Eastern District of New York.         This includes not just acts

 by Mr. Greebel or his co-conspirators, but also acts that the

 conspirators caused others to take that materially furthered the

 ends of the conspiracy.

             Therefore, if you find that it is more likely than not

 that an overt act in furtherance of the conspiracy took place in

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 the Eastern District of New York, the government has satisfied

 its burden of proof as to venue for Count One.

             Again, I caution you that the preponderance of the

 evidence standard applies only to venue.          The government must

 prove each of the elements of both counts beyond a reasonable

 doubt.

 2.    Wire Fraud: Definition and Elements

             I will now define wire fraud, which is alleged to be

 the object of the conspiracy charged in Count One involving

 Retrophin. The relevant statute regarding wire fraud is Section

 1343 of Title 18 of the United States Code, which provides that:

             Whoever, having devised or intending to devise any
             scheme or artifice to defraud, or for obtaining money
             or property by means of false or fraudulent pretenses,
             representations, or promises, transmits or causes to
             be transmitted by means of wire, radio, or television
             communication in interstate or foreign commerce, any
             writings, signs, signals, pictures or sounds for the
             purpose of executing such scheme or artifice, shall be
             [guilty of a crime].

             Mr. Greebel is not charged with wire fraud itself, but

 with conspiracy to commit wire fraud.         Thus, the government need

 not prove that Mr. Greebel actually committed wire fraud, but,

 in order for you to find Mr. Greebel guilty of Count One, it

 must prove that Mr. Greebel conspired with at least one other




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 person with the intent to commit each element of wire fraud. 1            I

 will now describe the elements of wire fraud, as they relate to

 the conspiracy charged in Count One.

 A.    First Element – Existence of a Scheme or Artifice to
       Defraud

             The first element of wire fraud is that there was a

 scheme or artifice to defraud by means of false or fraudulent

 pretenses, representations or promises.          Thus, because Count One

 charges a conspiracy to commit wire fraud, the government must

 prove, beyond a reasonable doubt, that Mr. Greebel, along with

 at least one other person, conspired to defraud Retrophin by

 means of false or fraudulent pretenses, representations or

 promises.

 1
   “Second Circuit case law teaches that for a defendant to be
 convicted of conspiring to commit a specific intent crime, the
 Government must prove that the defendant had specific intent to
 violate the substantive statute, and that the intended future
 conduct the conspirators agreed upon includes all elements of
 the substantive crime, which in this case would thus include the
 specific intend to defraud.” United States v. Lucarelli, 476 F.
 Supp. 2d 163, 170 (D. Conn.), adhered to on reconsideration, 490
 F. Supp. 2d 295 (D. Conn. 2007)(quotation marks omitted)
 (citing, inter alia, United States v. Ceballos, 340 F.3d 115,
 124 (2d Cir. 2003)); United States v. Carlo, 507 F.3d 799, 801
 (2d Cir. 2007) (“To sustain a conviction for wire
 fraud . . . and conspiracy to commit such wire fraud, the
 government must prove that the defendant acted with specific
 intent to obtain money or property by means of a fraudulent
 scheme that contemplated harm to the property interests of the
 victim.” (emphasis added)).

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             A “scheme or artifice” is simply a plan for the

 accomplishment of an objective.        “Fraud” is a general term which

 embraces all the various means that an individual can devise and

 that are used by an individual to gain an advantage over another

 by false representations, suggestions, suppression or omission

 of the truth, or deliberate disregard for the truth.

             A “scheme or artifice to defraud” for the purposes of

 the wire fraud statute is any plan, device, or course of action

 designed to obtain money or property by means of false

 representations or omissions.        Thus, a “scheme to defraud” is a

 plan to deprive another of money or property by trick, deceit,

 deception or swindle, or overreaching.         A statement,

 representation, claim, or document is false if it is untrue when

 made and was known at the time to be untrue by the person making

 it or causing it to be made.        A representation or statement is

 fraudulent if it was falsely made with the intention to deceive.

             The expression of an opinion not honestly entertained

 may constitute a false or fraudulent representation.            Deceitful

 statements of half-truths or the concealment or omission of

 material facts, when under a duty to disclose these material

 facts, may also constitute false or fraudulent representations.

 A duty to disclose can arise in a situation where a defendant

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 makes partial or ambiguous statements that require further

 disclosure in order to avoid being misleading. 2

                         A duty to disclose material facts may also

 arise in the context of a fiduciary relationship, such as the

 attorney-client relationship.        As a result of this relationship,

 an attorney owes his client a duty of disclosure, which means

 that the attorney has a duty to give his client information

 known to the attorney which is relevant to the affairs entrusted

 to him and that the client would desire to have.           This duty

 exists if the attorney knows facts which, in view of his

 relationship with the client, the attorney knows may affect the

 desires of his client as to his own conduct or the conduct of

 the client or of another agent. 3




 2
   A “duty to disclose” may be imposed not only as the result of a
 particular relationship, but also “where a defendant makes
 partial or ambiguous statements that require further disclosure
 in order to avoid being misleading.” United States v. Autuori,
 212 F.3d 105, 119 (2d Cir. 2000) (noting also that “an omission
 can violate the fraud statute only in the context of a duty to
 disclose[] but a fiduciary duty is not the sine qua non of
 fraudulent omissions . . . ”).
 3
   C.I.R. v. Banks, 543 U.S. 426, 436 (2005) (“Even where the
 attorney exercises independent judgment without supervision by,
 or consultation with, the client, the attorney, as an agent, is
 obligated to act solely on behalf of, and for the exclusive
 benefit of, the client-principal, rather than for the benefit of
 the attorney or any other party.” (citations omitted)).
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             The fraudulent representation must relate to a

 material fact or matter.       A material fact in the context of wire

 fraud is one that reasonably would be expected to be of concern

 to a reasonable and prudent person in relying upon the

 representation or statement in making a decision.            A scheme to

 defraud does not exist when the alleged false representations or

 omissions were not directed to the nature of the bargain.

              The deception need not be premised upon spoken or

 written words alone. The arrangement of words, or the

 circumstances in which they are used may convey a false and

 deceptive appearance.      If there is intentional deception, the

 manner in which it is accomplished does not matter.

             It is not necessary that the government prove that the

 defendant actually realized any gain from the scheme or that the

 intended victim actually suffered any loss.

           Authority: Sand, 44-4 (First Element – Scheme or
 Artifice to Defraud).

 B.    Second Element – Participation in Scheme with Intent

             The second element of wire fraud is that the defendant

 participated in the scheme to defraud knowingly, willfully and

 with the specific intent to defraud.




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             I already instructed you as to the meaning of

 “knowingly” and “willfully.” I refer you to those instructions

 as they apply here also.       (See pp. 33-34.) For the purposes of

 the wire fraud statute, an “intent to defraud” means to act

 knowingly and with specific intent to deceive for the purpose of

 causing some financial or property loss to another.            Thus, for

 the purposes of the conspiracy charged in Count One, in order to

 establish that Mr. Greebel conspired to defraud Retrophin as

 charged in Count One, the government must prove that he intended

 to deprive Retrophin of money or property.

             I will remind you, however, that the question of

 whether a person acted knowingly, willfully and with intent to

 defraud is a question of fact for you to determine, like any

 other fact question. This question involves Mr. Greebel’s state

 of mind.    As I said before, direct proof of knowledge and

 fraudulent intent is not necessary. The ultimate facts of

 knowledge and criminal intent, though subjective, may be

 established by circumstantial evidence, based upon a person’s

 outward manifestations, his or her words, his or her conduct,

 his or her acts and all the surrounding circumstances disclosed

 by the evidence and the rational or logical inferences that may



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 be drawn from them.      Circumstantial evidence, if believed, is of

 no less value than direct evidence.

             Under the wire fraud statute, even false

 representations or statements, or omissions of material facts,

 do not amount to a fraud unless done with fraudulent intent.

 Fraudulent intent is lacking where the falsity of the alleged

 representations were not shown to be capable of affecting the

 allegedly defrauded party’s understanding of the bargain nor of

 influencing his assessment of the value of the bargain to him.

             Additionally, however misleading or deceptive a plan

 may be, it is not fraudulent if it was devised or carried out in

 good faith. An honest belief in the truth of the representations

 made by a defendant is a complete defense, however inaccurate

 the statements may turn out to be.         A defendant, however, has no

 burden to establish a defense of good faith.

           Authority: Sand, 44-5 (Second Element – Participation
 in Scheme with Intent); United States v. Binday, 804 F.3d 558,
 569 (2d Cir. 2015), cert. denied, 136 S. Ct. 2487, and cert.
 denied sub nom. Resnick v. United States, 136 S. Ct. 2488, and
 cert. denied sub nom. Kergil v. United States, 136 S. Ct. 2488
 (2016) (“It is not required that the victims of the scheme in
 fact suffered harm, but the government must, at a minimum, prove
 that defendants contemplated some actual harm or injury to their
 victims.” (internal quotation marks and citations omitted).)




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 C.    Third Element – Use of the Wires

             The third element of wire fraud is the use of an

 interstate or international wire communication in furtherance of

 the scheme to defraud.       The wire communication must pass between

 two or more states, or it must pass between the United States

 and a foreign country.       A wire communication includes a wire

 transfer of funds between banks in different states, telephone

 calls, emails and facsimiles between two different states.

             The item sent through the wires need not itself

 contain a fraudulent representation.         However, it must further

 or assist in the carrying out of the scheme to defraud.             It is

 not necessary for the defendant to be directly or personally

 involved in the wire communication, as long as the communication

 was reasonably foreseeable in the execution of the alleged

 scheme to defraud in which the defendant is accused of

 participating.

             As I mentioned, the government need not prove that Mr.

 Greebel actually committed wire fraud, the unlawful act charged

 as the object of the conspiracy in Count One.           Rather, I remind

 you that what the government must prove each one of the

 following elements beyond a reasonable doubt:




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             First, that two or more persons entered into an

 agreement to commit wire fraud; and

             Second, that Mr. Greebel knowingly and intentionally

 became a member of the conspiracy.

             In addition, as I described earlier, the government

 must prove that venue is proper by a preponderance of the

 evidence.

             Authority: Sand, 44-7 (Use of the Wires).

           COUNT TWO: Conspiracy to Commit Securities Fraud

             Count Two of the Superseding Indictment charges Mr.

 Greebel with conspiracy to commit securities fraud in connection

 with Retrophin as follows:

             In or about and between November 2012 and September
             2014, both dates being approximate and inclusive,
             within the Eastern District of New York and elsewhere,
             the defendant EVAN GREEBEL, together with others, did
             knowingly and willfully conspire to use and employ
             manipulative and deceptive devices and contrivances,
             contrary to Rule 10b-5 of the Rules and Regulations of
             the United States Securities and Exchange Commission,
             Title 17, Code of Federal Regulations, Section
             240.10b-5, by: (a) employing devices, schemes and
             artifices to defraud; (b) making untrue statements of
             material fact and omitting to state material facts
             necessary in order to make the statements made, in
             light of the circumstances under which they were made,
             not misleading; and (c) engaging in acts, practices
             and courses of business which would and did operate as
             a fraud and deceit upon investors and potential
             investors in Retrophin, in connection with the
             purchase and sale of securities of Retrophin, directly

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             and indirectly, by use of means and instrumentalities
             of interstate commerce and the mails, contrary to
             Title 15, United States Code, Sections 78j(b) and
             78ff.

             In furtherance of the conspiracy and to effect its
             objects, within the Eastern District of New York and
             elsewhere, the defendant EVAN GREEBEL, together with
             others, committed and caused to be committed, among
             others, the following overt acts:

             a. On or about December 12, 2012, Evan Greebel sent an
             email to [Marek Biestek], attaching six stock purchase
             agreements, and stated, in part, “attached are
             purchase agreements for the acquisition of the
             [unrestricted] stock. . . . Please ask each person to
             sign the last page and return it to me.”

             b. On or about December 13, 2012, Evan Greebel sent an
             email to [Marek Biestek] and another one of the seven
             employees and contractors who received unrestricted or
             free trading shares, and stated, in part, “Please send
             me an email confirming the following: I represent that
             I am not an officer, a director, or holder of 10% or
             more of the outstanding equity securities of Desert
             Gateway and do not, alone or together with any other
             person, exercise control over Desert Gateway.”

             c. On or about December 17, 2012, Martin Shkreli sent
             an email to all employees, copying six of the seven
             employees and contractors who received unrestricted
             and free trading shares, and stated that Retrophin now
             had four employees and that everyone else, including
             the employees and contractors who received the
             unrestricted or free trading shares, were no longer
             employees or consultants to Retrophin or MSMB even
             though they could continue using Retrophin’s office
             space as a courtesy. Martin Shkreli then forwarded
             this email to Evan Greebel.

             d. On or about December 20, 2012, Evan Greebel sent an
             email to Martin Shkreli, attaching a Schedule 13D, and
             stated, “Attached is a draft of the 13D. We should
             discuss.”

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             e. On or about December 20, Martin Shkreli filed a
             Schedule 13D with the SEC that failed to disclose his
             control over any of the unrestricted or free trading
             shares.

             f. On or about January 2, 2013, Martin Shkreli sent an
             email to Evan Greebel requesting Evan Greebel’s
             thoughts on a draft email that Martin Shkreli wanted
             to send to one of the seven employees and consultants
             who received unrestricted or free trading shares and
             who was selling his RTRX stock. In the draft email,
             Martin Shkreli stated, in part, “I have decided to
             commence litigation against you for failing to honor
             the agreement we made in our office on December 10th.
             You agreed to work for MSMB . . . Instead you have
             failed to come to the office and will not even return
             my telephone calls.” Less than thirty minutes later,
             Evan Greebel replied to Martin Shkreli, and stated,
             “Very risky given what you[r] agreement was – could be
             opening a much bigger can of worms.”

             g. On or about January 18, 2013, GREEBEL sent an email
             to Martin Shkreli, and stated, in part, “I just need
             the [$100,000] and can be patient again; ive [sic]
             gotten you out of paying a lot of people, I cant [sic]
             be left stuck at this point on this.” Later that day,
             GREEBEL sent another email, and stated, in part,
             “[I’ve] repeadtedy [sic] done all you ask and very
             rarely chase you for money.”

             h. On or about February 19, 2013, Martin Shkreli filed
             an amended Schedule 13D with the SEC that failed to
             disclose his control over any of the unrestricted or
             free trading shares.

             i. On or about March 8, 2013, Evan Greebel sent an
             email to Martin Shkreli, and stated, “[Michael
             Fearnow] and the ‘purchasers’ are signing an amendment
             to their purchase agreement and in the amendment the
             ‘purchaser’ is directing [Michael Fearnow] to have the
             stock delivered to the designated people.”

             j. On or about April 10, 2013, Evan Greebel sent an
             email to [Michael Fearnow] and Martin Shkreli, and

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             stated, in part, “The 50k [unrestricted or free
             trading] shares that were owed to [Marek Biestek]
             should be broken down as follows . . . .”

             k. On or about May 9, 2013, in response to an email
             from Evan Greebel requesting the source of
             unrestricted or free trading shares to settle a
             dispute with a defrauded MSMB Healthcare investor,
             Martin Shkreli stated, “Take from anyone – I don’t
             care – do the math?”

             l. On or about January 15, 2014, GREEBEL sent an
             email to Martin Shkreli concerning a request by
             Investor 1 for, inter alia, 100,000 unrestricted or
             free trading shares and stated, in part, “As you may
             recall, we discussed that [Marek Biestek] could
             transfer 100k shares of stock to [Investor 1] and we
             could have the board approve a 100k grant of new RTRX
             stock to [Marek Biestek].” In response, Martin Shkreli
             stated, in part, “Smarter thing to do is to give him
             200K restricted stock and have him swap any and all he
             wants for free trading from our employees.”

 1.    Conspiracy

             I have already instructed you on conspiracy as it

 relates to Count One, conspiracy to commit wire fraud.            (See

 page 33.)    The same instructions regarding conspiracy apply to

 Count Two, which charges a conspiracy to commit securities

 fraud.    As I have previously instructed you, a conspiracy

 requires that the government prove, beyond a reasonable doubt:

             First, that two or more persons entered into an

 agreement to commit a crime, which in this count is securities

 fraud; and



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             Second, that the defendant, Mr. Greebel, knowingly and

 intentionally became a member of the conspiracy.

             There are, however, two additional elements the

 government must prove in order for you to find Mr. Greebel

 guilty of the securities fraud conspiracy charged in Count Two.

 Specifically, the government must prove, beyond a reasonable

 doubt:

       Third, that one of the members of the conspiracy committed

       at least one of the overt acts charged in the Superseding

       Indictment.    In order for the government to satisfy this

       element, it is not required that all of the overt acts

       alleged in the Superseding Indictment be proven or that the

       overt act was committed at precisely the time alleged in

       the Superseding Indictment. It is sufficient if you are

       convinced beyond a reasonable doubt that the overt act

       occurred at or about the time and place stated. Similarly,

       you need not find that Mr. Greebel himself committed the

       overt act. It is sufficient for the government to show that

       one of the conspirators knowingly committed an overt act in

       furtherance of the conspiracy, since, in the eyes of the

       law, such an act becomes the act of all of the members of

       the conspiracy.

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                   And Fourth, the government must prove beyond a

       reasonable doubt that at least one overt act was in

       furtherance of some object or purpose of the conspiracy as

       charged in the Superseding Indictment.         In order for the

       government to satisfy this element, it must prove, beyond a

       reasonable doubt, that at least one overt act was knowingly

       and willfully done, by at least one conspirator, in

       furtherance of some object or purpose of the conspiracy as

       charged in the Superseding Indictment. In this regard, you

       should bear in mind that the overt act, standing alone, may

       be an innocent, lawful act. Frequently, however, an

       apparently innocent act sheds its harmless character if it

       is a step in carrying out, promoting, aiding or assisting

       the conspiratorial scheme. Therefore, you are instructed

       that the overt act does not have to be an act which, in and

       of itself, is criminal or constitutes an objective of the

       conspiracy.

           Authority: Sand, 19-7 (Third Element: Commission of
  Overt Act); 19-8 (Fourth Element: Commission of Overt Act in
  Furtherance of Conspiracy).

             As with conspiracy to commit wire fraud, a defendant

 may be found guilty of conspiracy to commit securities fraud

 even if he was incapable of committing the underlying

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 substantive crime of securities fraud.         Consequently, for a

 defendant to be guilty of conspiracy, there is no need for the

 government to prove that he or any other conspirator actually

 succeeded in their criminal goals or even that they could have

 succeeded.    However, the government must prove beyond a

 reasonable doubt that Mr. Greebel conspired with at least one

 other person with the intent of committing each element of

 securities fraud.

                                     ****

             In addition to these four elements, the government

 must also prove venue by a preponderance of the evidence.             I

 have already instructed you about venue with regard to Count One

 (see p. 43), and those instructions apply here as well.

 Again, I caution you that the preponderance of the evidence

 standard applies only to establishing that venue. The government

 must prove each of the elements beyond a reasonable doubt.

 2.    Securities Fraud

             The criminal object of the conspiracy charged in Count

 Two is Securities Fraud.       I will now instruct you on the law

 regarding the underlying crime of securities fraud.            The

 relevant statute is Section 10(b) of the Securities Exchange Act

 of 1934.     That law provides in relevant part that:

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             It shall be unlawful for any person, directly or
             indirectly, by the use of any means or instrumentality
             of interstate commerce or of the mails, or any
             facility of any national securities exchange –
             (b) To use or employ, in connection with the purchase
             or sale of any security registered on a national
             securities exchange or any security not so registered
             . . . any manipulative or deceptive device or
             contrivance in contravention of such rules and
             regulations as the [Securities and Exchange Commission
             (“SEC”)] may prescribe as necessary or appropriate in
             the public interest or for the protection of
             investors.

             Based on its authority under this statute, the SEC

 enacted Rule 10b-5, which provides:

             It shall be unlawful for any person, directly or
             indirectly, by the use of any means or instrumentality
             of interstate commerce, or of the mails or of any
             facility of any national securities exchange,
             (a) To employ any device, scheme, or artifice to
             defraud,
             (b) To make any untrue statement of a material fact or
             to omit to state a material fact necessary in order to
             make the statements made, in the light of the
             circumstances under which they were made, not
             misleading, or
             (c) To engage in any act, practice, or course of
             business which operates or would operate as a fraud or
             deceit upon any person, in connection with the
             purchase or sale of any security.

             In order for you to convict Mr. Greebel of conspiracy

 to commit securities fraud charged in Count Two, the government

 must prove, beyond a reasonable doubt, that Mr. Greebel

 conspired to commit each element of securities fraud, which I

 will now describe.

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            1. First Element - Fraudulent Act

             The first element of securities fraud is a fraudulent

 act.    Thus, for purposes of the conspiracy to commit securities

 fraud charged in Count Two, the government must prove beyond a

 reasonable doubt that, in connection with the purchase or sale

 of a security in Retrophin, Mr. Greebel conspired with at least

 one other person to:

             (1) employ a device, scheme or artifice to defraud, or

             (2) made an untrue statement of a material fact or

 omitted to state a material fact necessary in order to make the

 statements made, in the light of the circumstances under which

 they were made, not misleading, or

             (3) engage in an act, practice or course of business

 that operated, or would operate, as a fraud or deceit upon any

 person in connection with the purchase or sale of Retrophin

 securities.

             Let me now explain some of these terms.

    •   Device, Scheme, or Artifice to Defraud:        For the purposes

        of securities fraud, a device, scheme or artifice to

        defraud is a plan for the accomplishment of a fraud.           Fraud

        is a general term that embraces all efforts and means that

        individuals devise to take advantage of others.          The

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         fraudulent or deceitful conduct alleged need not relate to

         the investment value of the securities involved in this

         case. Manipulative conduct that is designed to deceive or

         defraud investors by controlling or artificially affecting

         the price of securities is prohibited. An essential element

         of manipulation of securities is the deception of investors

         into believing that the prices at which they purchase and

         sell securities are determined by the natural interplay of

         supply and demand. 4

     •   False Statements and Omissions:      A statement,

         representation, claim, or document is false if it is untrue

         when made and was then known to be untrue by the person

         making it or causing it to be made.       A representation or

         statement is fraudulent if it was made with the intention

         to deceive. False or fraudulent statements under the

 4
   ATSI Comms., Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 99–100 (2d
 Cir. 2007) (“Manipulation is virtually a term of art when used
 in connection with the securities markets [and]. . . refers
 generally to practices . . . that are intended to mislead
 investors by artificially affecting market activity . . .
 manipulation connotes intentional or willful conduct designed to
 deceive or defraud investors by controlling or artificially
 affecting the price of securities. The deception arises from
 the fact that investors are misled to believe that prices at
 which they purchase and sell securities are determined by the
 natural interplay of supply and demand, not rigged by
 manipulators.” (internal quotation marks and citations
 omitted)).
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        statute may include the concealment or omission of material

        facts in a manner that makes what is said or represented

        deliberately misleading.      For a statement to be false

        because it conceals or omits material information, there

        must be a duty to disclose such information.         As I have

        previously instructed you, this duty may arise because of a

        relationship, such as a fiduciary relationship, or because

        a defendant has made a partial or ambiguous statements that

        require further disclosure in order to avoid being

        misleading.

    •   “In Connection With”:     The “in connection with” aspect of

        this element is satisfied if there is some nexus or

        relation between allegedly fraudulent conduct and the sale

        or purchase of securities. Fraudulent conduct may be “in

        connection with” the purchase or sale of securities if the

        alleged fraudulent conduct “touched upon” a securities

        transaction.

                   It is no defense to an overall scheme to defraud

        that Mr. Greebel may not have been involved in the scheme

        from its inception or may have played only a minor role

        with no contact with the investors and purchasers of the

        securities in question.      Nor is it necessary for you to

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        find that Mr. Greebel was the actual seller or offeror of

        the securities.    For the purposes of the “in connection

        with” requirement, it is sufficient if you find that the

        government has proven, beyond a reasonable doubt, that Mr.

        Greebel conspired to engage in a fraudulent scheme that

        involved the purchase or sale of Retrophin securities.           By

        the same token, the government need not prove that Mr.

        Greebel personally made an alleged misrepresentation or

        that he personally omitted a material fact necessary to

        make the statements made not misleading.         It is sufficient

        if the government proves beyond a reasonable doubt that Mr.

        Greebel conspired with at least one other person to cause

        the statement to be made, or the fact to be omitted.           With

        regard to the alleged misrepresentations and omissions, you

        must determine whether the statement was true or false when

        it was made, and, in the case of alleged omissions, whether

        the omission was misleading.

    •   Material Fact: If you find that the government has

        established beyond a reasonable doubt that Mr. Greebel

        conspired to make a false statement, or omitted to state or

        disclose a fact in connection with the purchase or sale of

        any securities, you must next determine whether the fact

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       misstated or omitted was material under the circumstances

       and that there was a duty to disclose the omitted

       information. “A misrepresentation is material under Section

       10(b) of the Securities Exchange Act and Rule 10b–5 where

       there is a substantial likelihood that a reasonable

       investor would find the misrepresentation important in

       making an investment decision.”        If you find that Mr.

       Greebel conspired to make a material misrepresentation or

       to omit a material fact when there was a duty to disclose,

       it does not matter whether the intended victims were

       gullible buyers or sophisticated investors, because the

       securities laws protect the gullible and unsophisticated as

       well as the experienced investor.

                   Nor does it matter whether or not the alleged

       unlawful conduct was successful, or whether or not Mr.

       Greebel profited or received any benefits as a result of

       the alleged conspiracy. Success is not an element of the

       crime charged.

           Authorities: Sand, 57-21 (First Element – Fraudulent
 Act); United States v. Litvak, 808 F.3d 160, 175 (2d Cir. 2015)
 (citations omitted) (defining material misrepresentations).

            2. Second Element - Knowledge, Intent and Willfulness



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             The second element of securities fraud is that a

 defendant acted knowingly, willfully, and with intent to

 defraud.    Where, as in this case, a defendant is charged with

 conspiracy to commit securities fraud, the government must

 prove, beyond a reasonable doubt, that the defendant conspired

 knowingly, willfully, and with intent to defraud.

             I have already defined “knowingly” and “willfully” for

 you, and I refer you to those earlier definitions (see pp. 33-

 34).

             The definition of an “intent to defraud” in the

 context of the securities laws is slightly different than the

 requirement for intent for wire fraud.         For the purposes of

 securities fraud and the conspiracy to commit securities fraud

 charged in Count Two, “intent to defraud” means to act knowingly

 and with intent to deceive.

             The question of whether a person acted knowingly,

 willfully and with intent to defraud is a question of fact for

 you to determine, like any other fact question.           This question

 involves one’s state of mind.

             Direct proof of knowledge and fraudulent intent is

 almost never available. It would be a rare case where it could

 be shown that a person wrote or stated that, as of a given time

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 in the past, he committed an act with fraudulent intent. Such

 direct proof is not required.

             Under the anti-fraud statutes, even false

 representations or omissions of material facts do not amount to

 a fraud unless done with fraudulent intent. However misleading

 or deceptive a plan may be, it is not fraudulent if it was

 devised or carried out in good faith. An honest belief in the

 truth of the representations made by a defendant is a complete

 defense, however inaccurate the statements may turn out to be.

           Authority: Sand, 57-24 (Knowledge, Intent, and
 Willfulness); United States v. Litvak, 808 F.3d 160, 178-79 (2d
 Cir. 2015) (explaining that “intent to harm” is not an element
 of securities fraud).

            3. Third Element - Instrumentality of Interstate
               Commerce

             The third and final element of securities fraud is the

 use of the mails or any means or instrumentalities of

 transportation or communication in interstate commerce in

 furtherance of the scheme to defraud.         This would include the

 use of a telephone, a bank wire transfer or an email sent over

 the Internet that traveled across state lines.

             It is not necessary that Mr. Greebel be directly or

 personally involved in any mailing, wire, or use of an

 instrumentality of interstate commerce.          The government must,

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 however, prove beyond a reasonable doubt that Mr. Greebel

 conspired to engage in conduct which he knew or reasonably could

 foresee would naturally and probably result in the use of

 interstate means of communication.

             When one does an act with the knowledge that the use

 of interstate means of communication will follow in the ordinary

 course of business, or where such use reasonably can be

 foreseen, even though not actually intended, then he causes such

 means to be used.

             It is not necessary that the items sent through

 interstate means of communication contain the fraudulent

 material, or anything criminal or objectionable. The interstate

 means of communication may be entirely innocent.

             The use of interstate communications need not be

 central to the execution of the scheme, and may even be

 incidental to it.      All that is required is that the use of the

 interstate communications bear some relation to the object of

 the scheme or fraudulent conduct.         In fact, the actual offer or

 sale need not be accomplished by the use of interstate

 communications, so long as the defendant is still engaged in

 actions that are a part of the fraudulent scheme when interstate

 communications are used.

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           Authority: Sand, 57-25 (Third Element –
 Instrumentality of Interstate Commerce).

                                  * * * * *

                         In sum, to find Mr. Greebel guilty of

 conspiracy to commit securities fraud as charged in Count One,

 you must find that the government has proven, beyond a

 reasonable doubt, the following:

             First, that two or more persons entered into an

 agreement to commit securities fraud;

             Second, that the defendant knowingly and intentionally

 became a member of the conspiracy;

             Third, that one of the members of the conspiracy

 knowingly committed at least one of the overt acts charged in

 the Superseding Indictment; and

             Fourth, that the overt act or acts that you find were

 committed were done specifically to further some objective of

 the securities fraud conspiracy.

             In addition, you must find that the government has

 established that venue for Count Two is proper by a

 preponderance of the evidence.




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 3.    Conscious Avoidance

             As I explained, for purposes of both Counts One and

 Two, the Government is required to prove that the defendant

 knowingly and intentionally became a member of the conspiracy

 and that the object of the conspiracy was to commit wire fraud

 for Count One and securities fraud for Count Two.            In

 determining whether the defendant acted knowingly with respect

 to the object of the conspiracy, you may consider whether the

 defendant deliberately closed his eyes to what would otherwise

 have been obvious to him.

             If you find beyond a reasonable doubt that the

 defendant was aware that there was a high probability that his

 co-conspirators’ objective was to violate the law as charged in

 the Superseding Indictment but that the defendant deliberately

 avoided confirming this fact, you may treat this deliberate

 avoidance of positive knowledge as the equivalent of knowledge

 of the object of the charged conspiracy.          However, if you find

 that the defendant actually believed that he or his co-

 conspirators were acting in a lawful manner, he may not be

 convicted of the charge.       I also remind you that guilty

 knowledge may not be established by demonstrating that the

 defendant was merely negligent, foolish, or mistaken.             There is

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 a difference between intentionally participating in the

 conspiracy and knowing the objects of the conspiracy.

 “Conscious avoidance” or “willful blindness” as I have described

 it cannot be used as a basis for finding that the defendant

 intentionally joined the conspiracy.         It is logically impossible

 for a defendant to join the conspiracy unless he or she knows

 the fact that the conspiracy exists.

             However, if you find beyond a reasonable doubt that

 the defendant chose to participate in a joint undertaking, you

 may consider whether the defendant deliberately avoided

 confirming an otherwise obvious fact: that the purpose of the

 partnership he joined was to violate the law as charged in the

 Superseding Indictment.

           Authority: Sand, 3A-2 (Conscious Avoidance); United
 States v. Svoboda, 347 F.3d 471, 480 (2d Cir. 2003).

 4.     Definition of “Affiliate”

             An affiliate of an issuer is a person that directly,

 or indirectly through one or more intermediaries, controls, or

 is controlled by, or is under common control with, such issuer. 5

 “Control” means the power to direct the management and policies




 5
     17 C.F.R. 230.144.
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 of the company in question, whether through the ownership of

 voting securities, by contract, or otherwise.6

                               III.    Defenses

 1.    Good Faith

             Good faith is a complete defense to the charges in

 this case.    If you conclude that Mr. Greebel believed, in good

 faith, that he was acting properly, even if he was mistaken in

 that belief, and even if others were injured by his conduct,

 there would be no crime.       Similarly, if you believe that

 Mr. Greebel believed in the truth of the representations that he

 made, then it does not make any difference if the

 representations were untrue.         The burden of establishing lack of

 good faith and criminal intent rests on the government. A

 defendant is under no burden to prove his good faith; rather,

 the government must prove bad faith or knowledge of falsity

 beyond a reasonable doubt.

             Authority: Sand, 8-1 (Good Faith).

 [Placeholder for Defendant’s Theory of the Case]




 6
   17 C.F.R. 230.405 (defining terms); see United States
 Securities and Exchange Commission, Rule 144: Selling Restricted
 and Control Securities,
 https://www.sec.gov/reportspubs/investor-
 publications/investorpubsrule144htm.html.
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                         IV.   CLOSING INSTRUCTIONS

             I have now outlined for you the rules of law

 applicable to the charges in this case and the processes by

 which you should weigh the evidence and determine the facts.              In

 a few minutes, you will retire to the jury room for your

 deliberations.

 1.    Selection of a Foreperson

             When you retire, you will choose one member of the

 jury as your foreperson.       That person will preside over the

 deliberations and speak for you here in open court.            In order

 for your deliberations to proceed in an orderly fashion, you

 must have a foreperson, but of course, his or her opinion or

 vote are not entitled to any greater weight than that of any

 other juror.

 2.    Verdict & Deliberations

             The government, to prevail, must prove the essential

 elements by the required degree of proof, as already explained

 in these instructions. If the government succeeds, your verdict

 should be guilty as to the count; if it fails, your verdict

 should be not guilty as to the count. To report a verdict, it

 must be unanimous.




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             Your function is to weigh the evidence in the case and

 determine whether or not the defendant is guilty, based solely

 upon such evidence.

             Each juror is entitled to his or her opinion; each

 should, however, exchange views with his or her fellow jurors.

 That is the very purpose of jury deliberation — to discuss and

 consider the evidence; to listen to the views of fellow jurors;

 to present your individual views; to consult with one another;

 and to reach an agreement based solely and wholly on the

 evidence — if you can do so without violence to your own

 individual judgment.

             Each of you must decide the case for yourself, after

 consideration, with your fellow jurors, of the evidence in the

 case.

             But you should not hesitate to change an opinion that,

 after discussion with your fellow jurors, appears erroneous.

 However, if, after carefully considering all the evidence and

 the arguments of your fellow jurors, you entertain a

 conscientious view that differs from the others, you are not to

 yield your conviction simply because you are outnumbered.




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             Your final vote must reflect your conscientious

 conviction as to how the issues should be decided. Your verdict,

 whether guilty or not guilty, must be unanimous.

             As you deliberate, your function is to weigh the

 evidence in the case and to determine whether the defendant is

 guilty beyond a reasonable doubt, solely upon the basis of such

 evidence.    Under your oath as jurors, you cannot allow a

 consideration of the punishment that may be imposed upon the

 defendant, if he is convicted, to influence your verdict, or in

 any way enter into your deliberations.         The duty of imposing

 punishment rests exclusively with the court.

             In addition, during your deliberations, you must not

 communicate with or provide any information to anyone by any

 means about this case.       You may not use any electronic device or

 media, such as the telephone, a cell phone, smart phone, iPhone,

 Blackberry or computer, the internet, any internet service, any

 text or instant messaging service, any internet chat room, blog,

 or website such as Facebook, MySpace, Instagram, LinkedIn,

 YouTube, or Twitter, to communicate to anyone any information

 about this case or to conduct any research about this case.             In

 other words, you cannot talk to anyone on the phone, correspond

 with anyone, or electronically communicate with anyone about

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 this case, except with your fellow jurors in the jury room

 during deliberations.

             Along the same lines, you should not try to access any

 information about the case or do research on any issue that

 arose during the trial from any outside source, including

 dictionaries, reference books, or anything on the Internet.

 Information that you may find on the Internet or in a printed

 reference might be incorrect or incomplete. In our court system,

 it is important that you not be influenced by anyone or anything

 outside this courtroom. Your sworn duty is to decide this case

 solely and wholly on the evidence that was presented to you in

 this courtroom.

           Authority: Sand, 9-7 (Verdict); 2-21 (Contact with
 Others); 9-1 (Punishment).


 3.    Note-Taking

             Your notes are to be used solely to assist you and are

 not to substitute for your recollection of the evidence in the

 case.   Do not assume simply because something appears in a

 juror’s notes that it necessarily took place in court.            Instead,

 it is your collective memory that must control as you deliberate

 upon the verdict.      The fact that a particular juror has taken

 notes entitles that juror’s views to no greater weight than

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 those of any other juror, and your notes are not to be shown to

 any other juror during your deliberations.

 4.    Communications with the Court

             If it becomes necessary during your deliberations to

 communicate with me for any reason, simply send me a note signed

 by your foreperson or by one or more other members of the jury.

 No member of the jury should ever attempt to communicate with me

 or with any court personnel by any means other than a signed

 writing.    I will not communicate with any member of the jury on

 any subject touching on the merits of this case other than in

 writing or orally here in open court.         Do not ever disclose how

 the jury stands numerically or otherwise on the question of

 guilt or innocence.

 5.    Right to See Evidence

             You will have the exhibits and a list of exhibits

 received in evidence during the course of the trial in the jury

 room with you.     If you wish to have any portion of the testimony

 repeated, you may simply indicate that in a note.           Be as

 specific as you can be if you make such a request.            Let us know

 which exhibit or which part of which witness’s testimony you

 want to hear, and please be patient while we locate it.             If you



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 need further instructions on any point of law, you should also

 indicate that in a note.

 6.    Return of Verdict

             When you have reached a verdict, simply send me a note

 signed by your foreperson that you have reached a verdict.             Do

 not indicate in the note what the verdict is.

             To report a verdict, it must be unanimous.          That is,

 all of you must agree that the government has proven beyond a

 reasonable doubt that Mr. Greebel knowingly, willfully, and with

 intent to defraud, entered into an agreement with at least one

 other person to commit every element of wire fraud in Count One,

 or every element of securities fraud for Count Two.

             You must render a verdict for the defendant as to both

 Count One and Two of the Superseding Indictment.           To help you, I

 have prepared a verdict form that may be of assistance to you in

 your deliberations.      On the verdict sheet are spaces marked

 “guilty” or “not guilty” for both counts.          The form is in no way

 intended to indicate how you must deliberate or decide the facts

 of this case.     The foreperson should use a check mark in the

 appropriate space indicating “guilty” or “not guilty” for each

 count of the Superseding Indictment with which Mr. Greebel is



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 charged.    The foreperson should also place his or her initials

 and the date beside each mark on the verdict form.

 7.    Conclusion

             Finally, I want to remind you of the oath you took

 when you were sworn as a juror at the beginning of this case.

 Remember, in your deliberations, that this case is no passing

 matter for the government or Mr. Greebel.          The parties and the

 court rely upon you to give full and conscientious deliberation

 and consideration to the issues and evidence before you.             By so

 doing, you carry out to the fullest your oaths as jurors:             to

 well and truly try the issues of this case and a true verdict

 render.

             Before asking you to retire and begin your

 deliberations, let me first consult with counsel to be certain I

 have not overlooked any point.




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